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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                             MIAMI DIVISION

                                     CASE NO.: 1:18-CV-21365-KMW

    ST. LOUIS CONDOMINIUM
    ASSOCIATION INC.

            Plaintiff,
    vs.

    ROCKHILL INSURANCE COMPANY,

          Defendant.
    __________________________________________/

     PLAINTIFF’S SUPPLEMENTAL EXPERT WITNESS DISCLOSURE PURSUANT TO
                  FLORIDA RULES OF CIVIL PROCEDURE 26(a)(2)

            Plaintiff, St. Louis Condominium Association, Inc. (“Plaintiff”), pursuant to Federal Rule

    of Civil Procedure 26, Local Rule 26.1 and the Scheduling Order, hereby discloses the following

    persons as experts expected to testify on its behalf at trial, as follows:

            1.      William J. Pyznar, P.E.
                    The Falcon Group Engineering, Architecture & Energy Consultants
                    7430 SW 48th Street
                    Miami, Florida 33155

            The Plaintiff expects to call Mr. Pyznar as expert witness at trial to present evidence

    under Federal Rule of Evidence 702, 703, and 705. Mr. Pyznar’s report, curriculum viate,

    compensation, list all publications he has authored in the ten (10) years and all litigation in which

    he offered testimony in the last four (4) years was previously produced on September 28, 2018.

            2.      Paul E. Beers
                    GCI Consultants, LLC
                    2460 Metrocentre Boulevard
                    West Palm Beach, Florida 33407



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           The Plaintiff expects to call Mr. Beers as expert witness at trial to present evidence under

    Federal Rule of Evidence 702, 703, and 705. Mr. Beers’ report, curriculum viate, compensation,

    list all publications he has authored in the ten (10) years and all litigation in which he offered

    testimony in the last four (4) years was previously produced on September 28, 2018.

           3.      Hector Torres
                   DLT Global Development & Building Advisors
                   3470 North Miami Avenue
                   Upper Suite
                   Miami, Florida 33127

           The Plaintiff expects to call Mr. Torres as expert witness at trial to present evidence

    under Federal Rule of Evidence 702, 703, and 705. Mr. Torres’ report, curriculum viate,

    compensation, list all publications he has authored in the ten (10) years and all litigation in which

    he offered testimony in the last four (4) years was previously produced on September 28, 2018.

           4.      Mark J. Mintz, Esq.
                   Mintz Truppman
                   1700 Sans Souci Boulevard
                   North Miami, Florida 33181

           The Plaintiff expects to call Mr. Mintz as expert witness at trial to present evidence under

    Federal Rule of Evidence 702, 703, and 705. We anticipate calling Mr. Mintz as an expert in

    industry standards for pre-litigation and litigation conduct. Mr. Mintz’s curriculum viate and

    compensation was previously produced on September 28, 2018. Mr. Mintz’s expert report

    including all litigation in which he offered testimony in the last four (4) years is attached hereto

    as Supplemental Exhibit “A”.

           5.      William S. Coffman, Jr.
                   740 S.E. Greenville Blvd.
                   Suite 400-176
                   Greenville, NC 27858




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           The Plaintiff expects to call Mr. Coffman as expert witness at trial to present evidence

    under Federal Rule of Evidence 702, 703, and 705. We anticipate calling Mr. Coffman as an

    expert in industry standards for adjusters and insurance companies. Mr. Coffman’s curriculum

    viate was previously produced on September 28, 2018. Mr. Coffman’s compensation, all

    litigation in which he offered testimony in the last four (4) years and expert report is attached

    hereto as Supplemental Exhibit “B”.


                                   CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

    electronic notification generated by CM/ECF system on 2nd day of October, 2018 to: Lauren D.

    Levy, Esq., Levy Law Group, 3399 Ponce De Leon Blvd, Suite 202, Coral Gables, Florida 33134;

    lauren@levylawgroup.com; Lourdes@levylawgroup.com and Jocelyn@levylawgroup.com.



                                                               Respectfully submitted,
                                                               Siegfried, Rivera, Hyman, Lerner,
                                                               De La Torre, Mars, & Sobel, P.A
                                                               Attorneys for Plaintiff
                                                               201 Alhambra Circle
                                                               Eleventh Floor
                                                               Coral Gables, Florida 33134
                                                               Telephone: (305)442-3334
                                                               Facsimile: (305) 443-3292
                                                               sodess@srhl-law.com
                                                               dbrady@srhl-law.com

                                                           By: /s/ Susan C. Odess
                                                               Susan C. Odess
                                                               Florida Bar No. 99077




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                           EXPERT REPORT OF MARK J. MINTZ, ESQ.


            The undersigned, Mark J. Mintz, Esq., is an attorney who has practiced for approximately

    38 years in varied areas of Florida’s civil law, specializing in first-party property insurance

    claims and litigation. I have been retained by the Plaintiff, St. Louis Condominium Association,

    Inc. (“St. Louis”), to render an opinion on various insurance industry standards issues related to

    the insurance claim pre-suit activities and litigation between Plaintiff and Rockhill Insurance

    Company (“Rockhill”). My current hourly rate and rate in this matter is $750, plus costs. My

    CV is available on my page at Mintztruppman.com, as is other information about me and my law

    firm.

            The field of insurance, particularly first-party property insurance (non-auto), while not

    scientific, is a specialized area, with its own technical terms and standards, which are not within

    the common knowledge of the general public. This is particularly true as it relates to

    condominium, commercial and commercial residential property insurance. My opinions, herein,

    based upon my education, training and experience, are directly relevant to assist the jury in

    determining whether Rockhill properly performed its obligations under the insurance contract at

    issue in accordance with generally accepted insurance industry standards, or whether it did not

    (in breach of the policy), as well as whether St. Louis did or did not do so as alleged in

    Rockhill’s defenses and counterclaim. This will necessarily require the jury to have certain

    insurance industry specific policy terms, standards and practices explained. A determination of

    policy compliance or breach by either party necessarily requires an understanding of insurance

    industry specifics.
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    Qualifications

           The undersigned has extensive litigation experience in various areas of Florida civil

    litigation, having been admitted to practice law in Florida in 1980. I am the senior and managing

    partner of Mintz Truppman, P.A., one of the oldest continuing first-party property insurance

    litigation firms in South Florida. For a significant portion of my career, I worked as insurance

    defense counsel specializing in first-party property insurance claims, and have acted as an

    insurance Appraiser. Simultaneously, I also specialized in first-party insurance claims

    representing insureds in such cases. Since 2006 I have only represented insureds, not insurers. I

    have lectured at FAPIA conferences, and ABA events, and other venues. I regularly consult with

    many of the most active and successful first-party property insurance lawyers and adjusters in

    South Florida. The undersigned and my law firm, under my guidance, have many of the leading

    insurance appellate cases in Florida and my case of Club West v. Tropigas is still taught at voir

    dire seminars.

           I am frequently consulted or hired as an insurance litigation consultant or expert witness

    in complex insurance claims or as an attorney’s fee expert. However, I only recall giving

    testimony in one case within the last four years as an expert, which is Sans Souci v. Citizens,

    Miami Dade Circuit Court Case No. 10-54803 CA 13.

    Summary of Opinions

           Rockhill engaged in conduct designed to delay and deny the insured’s claim in this case

    to avoid paying what was and is due. This includes Rockhill’s multiple breaches of the policy

    and its obligations under Florida law (enforced by the Federal Court in this case), violating

    industry standards in investigating the claim, hiring a lawyer to serve as a conduit/adjuster for the

    insurance company during the adjustment of the claim, failing to pay, and taking unsupported




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    defense and litigation positions when its insured was required to file suit.

           My testimony will explain the Insurance Company’s violation of insurance industry

    standards including Rockhill’s failure to properly investigate and adjust St. Louis’ insurance

    claim, violating its obligations under the insurance contract and insurance industry standards, as

    well as St. Louis’ alleged failure to meet its own duties under the policy. This information is

    clearly not within the basic knowledge or understanding of the average lay juror. My opinions

    will advise of the application of the policy exclusions and duties raised by Rockhill in its

    defenses and counterclaim in this case, and explain how they work in real life, so a lay juror can

    understand.

           The expected opinions based on first-party property insurance industry standards and my

    experience in the industry are detailed below.

    Materials Reviewed

           The undersigned has for review, relevant portions of the litigation file in this case,

    including pleadings, discovery, and the insurance policy at issue. In addition, I have been

    provided pre-suit communications (letters and emails) on policy compliance issues; document

    production by both Rockhill (relatively nonexistent) and St. Louis; and I have discussed and

    reviewed various facts of this claim and case with Plaintiff’s counsel because the important

    depositions of Rockhill’s (b)(6) corporate representative and Rockhill’s underwriting

    representative have not yet taken place. Additionally, I have Mr. Bert Davis’ deposition, which

    has not been concluded, and the depositions of Stephen Pesak and Philip Ambrose. This

    information has been reviewed in formulating my opinions, as relevant, and additional

    information is expected.




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    Detail of Opinions

           Based on my review of the materials identified above, and discussions with Plaintiff’s

    counsel, I am of the opinion that:


       •   Rockhill insured the window and door systems at the Property as part of the insured

           building.

       •   Rockhill insured the building envelope at the Property as part of the insured building.

       •   The issuance of the policy of insurance, with no exclusion or other indication

           (endorsements) that the windows and door systems and building envelope would not be

           covered, prevents Rockhill from denying or raising coverage defenses, including as it

           relates to pre-existing conditions for those items. The insurance company accepted the

           property in its condition as and when insured, after either inspecting or choosing not to

           inspect. Failure to provide such coverage would further be fraud in the inducement and is

           prohibited by industry standards.

       •   It appears that the Insurance Company collected premiums without ever intending to

           provide coverage as shown by 1) Rockhill’s adjuster representing that the claim exceeded

           the Policy’s deductible in September of 2017, yet Rockhill failed to 2) write an estimate;

           3) send an advance or pay for the admittedly covered damage; 4) send payment for the

           claim; or 5) send payment for the amount that was agreed to be above the deductible.

       •   St. Louis complied with all conditions precedent before filing the lawsuit or Rockhill

           waived any such policy compliance and St. Louis’ lawsuit was not filed prematurely.

           The Insurance Company delayed any evaluation and then, on prompting by the insured,

           had multiple inspections where it could have (and did to some degree) evaluated the

           claim fully.

       •   St. Louis allowed four inspections of its Property by Rockhill’s adjusters (although they

           apparently didn’t always show up) and retained experts, which fulfilled St. Louis’ duty



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           and obligation under the Policy to make the property available for inspection. If Rockhill

           chose not to complete its inspection, it did so at its peril and violated industry standards.

       •   The four inspections that were conducted by Rockhill and Rockhill’s experts allowed

           Rockhill to complete its investigation of the Property and the damage, within industry

           standards, and apparently it did so, but surely should have done so. The request for an

           additional inspection is either a fabricated “need” intentionally creating delay, or based

           on an admission of Rockhill’s prior breach in not concluding its investigation on the first

           four inspections.

       •   Rockhill’s attorney served as a conduit/adjuster for the Insurance Company by

           participating in the adjustment process, not as an attorney. Rockhill’s lawyer is not

           entitled to claim attorney-client privilege, or waived attorney-client privilege at the point

           it engaged in the adjustment of the claim’s process. Rockhill’s attorney advised St. Louis’

           public adjuster to direct all correspondence to her office during the adjustment of the

           claim.

       •   Rockhill’s counterclaim is without merit. There is no concealment or fraud by St. Louis

           and such would only be a defense, not a counterclaim. The same applies to the alleged

           lack of policy compliance and the counterclaim as a whole. St. Louis chose not to ask for

           information and delayed its investigation unnecessarily and then is attempting to blame

           the insured for the Insurance Company’s lack of action. This is below industry standards.

           A good faith dispute in value is never fraud. Nothing was concealed. Rockhill simply

           did not make requests for information, and then complained instead of gladly accepting

           and evaluating the insured’s documentation, since the insured did the work that the

           Insurance Company should have done.

       •   Rockhill’s failure to pay for St. Louis’ loss was clearly intentional and calculated to

           serve Rockhill’s own interests at the expense of its insured. This is evidenced by the




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           factual circumstances and chain of events set forth above, including its invalid and

           improper interpretation of the policy, if claimed to support its actions/inactions. It

           also includes Rockhill’s delay conduct towards its insured, as described above,

           including providing what amounted to “quasi” illusory coverage to its insured, if

           Rockhill didn’t pay its evaluation above the deductible or refused to prepare an

           estimate to that end. Some facts from the Insurance Company’s own witnesses,

           which it ignored, include:
               -   Cracks looked recent (Pesak deposition, pp. 80-81).
               -   Claim above deductible (Pesak deposition, pp. 92-93).
               -   Litigation not anticipated as of February 27, 2018 (Pesak deposition, p. 120).
               -   Damage didn’t pre-date Hurricane Irma (Ambrose deposition, pp. 81 and 101).
               -   No estimate done yet (Ambrose September 2018 deposition, p. 57).

       •   Rockhill’s investigation fell below the industry standard of what is required when

           performing inspections of insurance claims in various respects as set forth herein. There was

           no due regard for the insured’s Hurricane Irma damages or need for repairs.

       •   Rockhill and its adjusters had a duty and obligation to continuously and timely communicate

           with St. Louis and it failed to do so and that is below insurance industry standards.

       •   Rockhill had an independent obligation to determine the value of damaged property and to

           determine the value of its repair and/or replacement. Rockhill was obligated to give notice of

           its intentions within thirty days of its receipt of the Sworn Proof of Loss. Failure to do so is

           below insurance industry standards.

       •   Rockhill didn’t pay on the Proof of Loss or properly reject it, therefore, it accepted it.

           There is no such thing as an unsolicited Proof of Loss, if that’s meant to mean something

           done wrong by insured.

       •   Failure to pay or deny is breach of policy and industry standards, especially not doing so

           within 90 days and/or 30 days after Proof of Loss, and that was the Insurance Company’s


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          delay tactic in this matter.

      •   The applicable deductible is 3% of the amount of loss, subject to the $25,000 minimum

          per the policy, not 3% of policy limits.

      •   Per Mr. Ambrose, Rockhill’s adjusting stopped when suit was filed. That is below

          insurance industry standards as the Insurance Company should have done its estimate

          (none done yet per deposition, dated September 12, 2018, p. 57) and made payments due

          regardless of suit.

      •   Page 17, paragraphs 9 and 10 of Rockhill’s Answer and Affirmative Defenses to the

          Complaint and Incorporated Counterclaim for Declaratory Judgment, documents and

          admits the Insurance Company’s delay of months which was below industry standards.

      •   Paragraph 12 of the Counterclaim appears nonsensical in discussing a “flood claim”

          when the damages to the windows and the like and related water damage would clearly

          be above any flood level.

      •   A defense of “no prompt notice,” based upon the date of submission of the dollar amount

          of the insured’s estimate (not actual late notice of the loss) is contrary to insurance

          industry standards.

      •   The defense/counterclaim for failing to permit an inspection is nonsensical given that

          there were four inspections, as is the failure to cooperate argument. The re-re-re-re-

          inspection claim is inappropriate.

      •   The issues addressed above are further supplemented by the Insurance Company’s

          complete stonewalling of written discovery and deposition discovery.

      •   Insurance industry standards were violated when the Insurance Company sat around and

          didn’t evaluate the claim, instead stating it relied only on its experts, when it was required

          to adjust the claim and cannot relegate that to experts.

          The foregoing opinions will be confirmed, supplemented and potentially modified



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                                          Expert Report of William S. Coffman, Jr.



              ST. LOUIS CONDOMINIUM ASSOCIATION, INC., a Florida not-for profit Corporation

                                                                     vs.

                                               ROCKHILL INSURANCE COMPANY

   Qualifications and Experience

   I have worked in the insurance industry for over 34 years as an adjuster and loss consultant.
   Throughout this period, I have held key positions with Hartford Insurance and am currently an
   independent adjuster providing claims services to the insurance industry. I have broad experience in
   claim handling and claim management and hold special expertise in the adjustment of large property
   claims. Based on my experience of adjusting and advising on claims throughout the United States, I
   have specialized knowledge regarding the industry standards applicable to insurers and insurance
   adjusters.



   Background

   The St. Louis Condominium Association, Inc. consists of a thirty-one (31) story building containing 134
   units, flat roof systems, multi-story parking garage/parking deck, and an in-ground pool and pool deck
   that was constructed in 1995. 1 The condominium sustained damage from Hurricane Irma, which made
   landfall in the Florida Keys as a Category 4 storm on September 10, 2017. The eye of the storm tracked
   along the west coast of Florida reaching Naples as a category 2 storm. Winds from Hurricane Irma
   affected the east coast as well with a wind gust of 109 mph being recorded in Pembroke Pines, FL. 2

   St. Louis Condominium Association, Inc. retained the services of GlobalPro Recovery, Inc. to advise and
   assist with the presentation of their loss. GlobalPro Recovery, Inc. reported the loss to Rockhill Insurance
   Company on or about September 13, 2017. Rockhill Insurance Company set up a claim and assigned
   Engle Martin Associates to investigate. Engle Martin Associates assigned the claim to Stephen Pesak,
   Executive General Adjuster. An initial inspection by Mr. Pesak was conducted on or about September
   20, 2017

   From September 20, 2017 until January 16, 2018 neither Rockhill Insurance Company nor agents acting
   on its behalf made any requests for information or inspections.

   Rockhill Insurance Company engaged the services of an engineer, Mr. Bert Davis and a building
   consultant, Mr. Paul Millard. An inspection (which was the second one performed on behalf of Rockhill

   1
     Post Hurricane Irma Engineering Evaluation of the St. Louis Condominium Association, Miami Florida, prepared by: The Falcon Group
   Engineering, Architecture & Energy Consultants 7430 SW 48th Street Miami, FL 33155
   2
       ibid
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   Insurance Company) by Mr. Davis and Mr. Millard took place on or about January 31, 2018. At this
   inspection no adjuster from the insurance company attended despite requesting this reinspection. A
   third inspection occurred on February 28, 2018 and a fourth inspection occurred on March 1, 2018.
   These last two inspections were performed by Mr. Davis and Mr. Millard. Present during the February
   28, 2018 inspection was Mr. Ambrose. 3 Also present during these inspections was the insurer’s attorney
   Ms. Levy. 4

   At some point prior to the January 31, 2018 inspection Engle Martin reassigned the investigation of the
   claim to Philip Ambrose, Sr. Executive General Adjuster.

   A Sworn Statement in Proof of Loss was submitted to Rockhill Insurance Company via letter dated
   February 13, 2018, in the amount of $16,113,648.88.

   Suit was filed on or about March 5, 2018.

   As of this report no denial letters have been issued, no loss less than the deductible letters have been
   issued and no payments (partial or full) have been made.

   As of September 12, 2018, no estimates have been prepared by or on behalf of Rockhill Insurance
   Company. 5


   Opinions and Conclusions
   The conclusions enumerated below are general in nature and I intend to expound upon these upon
   questioning at my deposition. I also reserve the right to add to these opinions and form new opinions
   with additional or new information, such as transcripts of completed depositions of Rockhill Insurance
   Company’s adjuster, corporate representative, underwriting representative, plaintiffs Public Adjuster
   and Rockhill Insurance Company’s “expert” who inspected the property.

   Nowhere in the insurance policy issued by Rockhill Insurance Company does it instruct the insured on
   how to make an insurance claim. Rather they are instructed only on what they must do in the event of
   loss or damage:

             6. DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE
             You must see that the following are done in the event of loss or damage to covered
             property: 6


   Part of these duties are prompt notice to the insurance company. In response to this notice Rockhill
   Insurance Company establishes a claim and assigns representatives to investigate those damages giving
   rise to loss, evaluate whether those damages are covered under the policy and if covered determine the

   3
     Deposition of Philip Ambrose, pg. 43 lines 20-22
   4
     GlobalPro correspondence dated March 27, 2018
   5
     Deposition of Philip Ambrose, pg. 96 lines 10-12
   6
       Coverage Form CAT7011 (01/16)
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   extent of the policy’s monetary response. If the investigation determined that no payment is warranted,
   or the payment falls below the deductible a corresponding position paper is issued citing the position
   and the basis upon which the position was determined.

          1. Rockhill Insurance Company, in issuance of the policy and acceptance of First Notice of Loss
             created an expectation that they would adjust the reported loss. Rockhill Insurance Company
             has failed to adjust the loss despite being aware, as early as September 20, 2017 that the loss
             exceeded the deductible. 7

                       11 Q. Following your initial inspection, did you
                       12 make a determination whether or not the claim fell
                       13 above or below the deductible in this case?
                       14 A. Yes.
                       15 Q. Did you determine that the claim fell
                       16 above the deductible?
                       17 MS. LEVY: That, you can answer.
                       18 A. Yes.
                       19 Q. Okay. And you did that without writing an
                       20 estimate?
                       21 A. Yes.



          2. Rockhill Insurance Company mislead St. Louis Condominium Association, Inc. by creating an
             expectation of payment for that loss it (Pesak) had determined was in excess of the deductible
             and then not paying for that loss in accordance with the terms and conditions of the policy.

          3. Insurance Adjusting is regulated by the Florida Department of Financial Services (DFS). As such
             the DFS issues guidelines for adjusters to follow in the performance of their job-related duties.
             These guidelines are found in the Florida Administrative Code (FAC) as cited in part:

                       ‘69B-220.201 Ethical Requirements for All Adjusters and Public Adjuster
                       Apprentices.
                       (1) Definitions.
                                (a) “Adjuster,” when used without further specification, includes all types
                                and classes of insurance adjusters, (company employee, independent, and
                                public), subject to chapter 626, F.S., regardless of whether permanent,
                                temporary, apprentice, or emergency licensees.
                                (b) “Department” means the Florida Department of Financial Services.
                                (c) “Person” includes natural persons and legal entities.


   7
       Deposition of Stephen Pesak, pg. 92 lines 11 - 21
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               (2) Violation.
                      (a) Violation of any provision of this rule shall constitute grounds for
                      administrative action against the licensee.
                      (b) A breach of any provision of this rule constitutes an unfair claims
                      settlement practice.
               (3) Code of Ethics. The work of adjusting insurance claims engages the public
               trust. An adjuster shall put the duty for fair and honest treatment of the claimant
               above the adjuster’s own interests in every instance. The following are standards
               of conduct that define ethical behavior, and shall constitute a code of ethics that
               shall be binding on all adjusters:
                      (a) An adjuster shall not directly or indirectly refer or steer any claimant
                      needing repairs or other services in connection with a loss to any person
                      with whom the adjuster has an undisclosed financial interest, or who will
                      or is reasonably anticipated to provide the adjuster any direct or indirect
                      compensation for the referral or for any resulting business.
                      (b) An adjuster shall treat all claimants equally.
                          1. An adjuster shall not provide favored treatment to any claimant.
                          2. An adjuster shall adjust all claims strictly in accordance with the
                          insurance contract.
                      (c) An adjuster shall not approach investigations, adjustments, and
                      settlements in a manner prejudicial to the insured.
                      (d) An adjuster shall make truthful and unbiased reports of the facts after
                      making a complete investigation.
                      (e) An adjuster shall handle every adjustment and settlement with honesty
                      and integrity, and allow a fair adjustment or settlement to all parties
                      without any compensation or remuneration to himself or herself except
                      that to which he or she is legally entitled.
                      (f) An adjuster, upon undertaking the handling of a claim, shall act with
                      dispatch and due diligence in achieving a proper disposition of the claim.
                      (g) An adjuster shall not negotiate or effect settlement directly or
                      indirectly with any third-party claimant represented by an attorney, if the
                      adjuster has knowledge of such representation, except with the consent of
                      the attorney. For purposes of this subsection, the term “third-party
                      claimant” does not include the insured or the insured’s resident relatives.
                      (h) An adjuster shall not advise a claimant to refrain from seeking legal
                      advice, nor advise against the retention of counsel or the employment of a
                      public adjuster to protect the claimant’s interest.
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                            (i) An adjuster shall not attempt to negotiate with or obtain any statement
                            from a claimant or witness at a time that the claimant or witness is, or
                            would reasonably be expected to be, in shock or serious mental or
                            emotional distress as a result of physical, mental, or emotional trauma
                            associated with a loss. The adjuster shall not conclude a settlement when
                            the settlement would be disadvantageous to, or to the detriment of, a
                            claimant who is in the traumatic or distressed state described above.
                            (j) An adjuster shall not knowingly fail to advise a claimant of the
                            claimant’s claim options in accordance with the terms and conditions of
                            the insurance contract.
                            (k) An adjuster shall not undertake the adjustment of any claim concerning
                            which the adjuster is not currently competent and knowledgeable as to the
                            terms and conditions of the insurance coverage, or which otherwise
                            exceeds the adjuster’s current expertise.
                            (l) No person shall, as a company employee adjuster or independent
                            adjuster, represent him- or herself or any insurer or independent adjusting
                            firm against any person or entity that the adjuster previously represented
                            as a public adjuster.
           These administrative codes shall be referenced in the following conclusions (3 through 7):

       3. (continued) Individuals assigned by Rockhill Insurance Company to investigate, evaluate and
          determine benefits due have violated the public trust in their collective failure to properly
          investigate, evaluate and determine benefits due. 8

       4. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
          benefits due under the policy of insurance have not treated the assured equally in that Rockhill
          Insurance Company representatives have recognized the loss exceeds the deductible and have
          failed to make payment on the claim. 9



       5. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
          benefits due have failed to adjust the claim. 1 year has passed and no payments have been
          issued despite the fact that Rockhill Insurance Company representatives have recognized the
          loss exceeds the deductible. 10




   8
     FAC paragraph 3
   9
     FAC paragraph 3(b)
   10
      FAC paragraph3(b) 2
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        6. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due have approached the adjustment of the claim in a manner prejudicial to the
           insured, in that no adjustment or payments have been made. 11



        7. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due have not adjusted the claim in a timely manner. Over 1 year has elapsed since the
           date of loss and no disposition has been attempted. 12

        8. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due have failed to advise the insured of their claim options under the policy. 13

        9. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due routinely failed to acknowledge written communications despite statutory
           requirements to do so.14

        10. By failing to pay monies due under the insurance contract, Rockhill Insurance Company has
            constructively denied the claim without conducting a reasonable investigation, despite statutory
            requirements that it do so. 15

        11. Rockhill Insurance Company has failed to advise the insured of additional information it requires
            in order to complete its investigation and the reasons for such information. 16

        12. Rockhill Insurance Company has failed to pay undisputed amounts of the loss despite statutory
            requirements that it do so. 17

        13. The adjustment of this loss does not meet industry standards for the adjustment of property
            losses.



   Signed: ______________________________________________
           William S Coffman, Jr.
           10/1/2018




   11
      FAC paragraph 3(c)
   12
      FAC paragraph 3(f)
   13
      FAC paragraph 3(j)
   14
      Florida Statutes 626.9541 (i) 3.c
   15
      Florida Statutes 626.9541 (i) 3.d
   16
      Florida Statutes 626.9541 (i) 3.g,h
   17
      Florida Statutes 626.9541 (i) 4
Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 18 of
                                      61



                                          Expert Report of William S. Coffman, Jr.



              ST. LOUIS CONDOMINIUM ASSOCIATION, INC., a Florida not-for profit Corporation

                                                                     vs.

                                               ROCKHILL INSURANCE COMPANY

   Qualifications and Experience

   I have worked in the insurance industry for over 34 years as an adjuster and loss consultant.
   Throughout this period, I have held key positions with Hartford Insurance and am currently an
   independent adjuster providing claims services to the insurance industry. I have broad experience in
   claim handling and claim management and hold special expertise in the adjustment of large property
   claims. Based on my experience of adjusting and advising on claims throughout the United States, I
   have specialized knowledge regarding the industry standards applicable to insurers and insurance
   adjusters.



   Background

   The St. Louis Condominium Association consists of a thirty-one (31) story building containing 134 units,
   flat roof systems, multi-story parking garage/parking deck, and an in-ground pool and pool deck that
   was constructed in 1995. 1 The condominium sustained damage from Hurricane Irma, which made
   landfall in the Florida Keys as a Category 4 storm on September 10, 2017. The eye of the storm tracked
   along the west coast of Florida reaching Naples as a category 2 storm. Winds from Hurricane Irma
   affected the east coast as well with a wind gust of 109 mph being recorded in Pembroake Pines, FL. 2

   St. Louis Condominium Association, Inc. retained the services of Globalpro Recovery, Inc. to advise and
   assist with the presentation of their loss. Globalpro Recovery, Inc. reported the loss to Rockhill Insurance
   Company on or about September 13, 2018. Rockhill Insurance Company set up a claim and assigned
   Engle Martin Associates to investigate. Engle Martin Associates assigned the claim to Stephen Pesak,
   Executive General Adjuster. An initial inspection by Mr. Pesak was conducted on or about September
   20, 2017

   From September 20, 2017 until January 16, 2018 neither Rockhill Insurance Company nor agents acting
   on its behalf made any requests for information or inspections.

   Rockhill Insurance Company engaged the services of an engineer, Mr. Bert Davis and a building
   consultant, Mr. Paul Millard. An inspection (which was the second one performed on behalf of Rockhill

   1
     Post Hurricane Irma Engineering Evaluation of the St. Louis Condominium Association, Miami Florida, prepared by: The Falcon Group
   Engineering, Architecture & Energy Consultants 7430 SW 48th Street Miami, FL 33155
   2
       ibid
Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 19 of
                                      61


   Insurance Company) by Mr. Davis and Mr. Millard took place on or about January 31, 2018. At this this
   inspection no adjuster from the insurance company attended despite requesting this reinspection. A
   third inspection occurred on February 28, 2018 and a fourth inspection occurred on March 1, 2018.
   These last two inspections were performed by Mr. Davis and Mr. Millard. Also present during these
   inspections was Mr. Ambrose and the insurer’s attorney Ms. Levy. 3

   At some point prior to the January 31, 2018 inspection Engle Martin reassigned the investigation of the
   claim to Philip Ambrose, Sr. Executive General Adjuster.

   A Sworn Statement in Proof of Loss was submitted to Rockhill Insurance Company via letter dated
   February 13, 2018, in the amount of $16,113,648.88.

   Suit was filed on or about March 5, 2018.

   As of this report no denial letters have been issued, no loss less than the deductible letters have been
   issued and no payments (partial or full) have been made.

   As of September 12, 2018, no estimates have been prepared by or on behalf of Rockhill Insurance
   Company. 4


   Opinions and Conclusions
   The conclusions enumerated below are general in nature and I intend to expound upon these upon
   questioning at my deposition. I also reserve the right to add to these opinions and form new opinions
   with additional or new information, such as transcripts of completed depositions of Rockhill Insurance
   Company’s adjuster, corporate representative, underwriting representative, plaintiffs Public Adjuster
   and Rockhill Insurance Company’s “expert” who inspected the property.

   Nowhere in the insurance policy issued by Rockhill Insurance Company does it instruct the assured on
   how to make an insurance claim. Rather they are instructed only on what they must do in the event of
   loss or damage:

              6. DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE
              You must see that the following are done in the event of loss or damage to covered
              property: 5


   Part of these duties are prompt notice to the insurance company. In response to this notice Rockhill
   Insurance Company establishes a claim and assigns representatives to investigate those damages giving
   rise to loss, evaluate whether those damages are covered under the policy and if covered determine the
   extent of the policy’s monetary response. If the investigation determined that no payment is warranted


   3
       Globalpro correspondence dated March 27, 2018
   4
       Deposition of Philip Ambrose, pg. 96 line s 10-12
   5
       Coverage Form CAT7011 (01/16)
Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 20 of
                                      61


   or the payment falls below the deductible a corresponding position paper is issued citing the position
   and the basis upon which the position was determined.

          1. Rockhill Insurance Company, in issuance of the policy and acceptance of First Notice of Loss
             created an expectation that they would adjust the reported loss. Rockhill Insurance Company
             has failed to adjust the loss despite being aware, as early as September 20, 2018 that the loss
             exceeded the deductible. 6

                       11 Q. Following your initial inspection, did you
                       12 make a determination whether or not the claim fell
                       13 above or below the deductible in this case?
                       14 A. Yes.
                       15 Q. Did you determine that the claim fell
                       16 above the deductible?
                       17 MS. LEVY: That, you can answer.
                       18 A. Yes.
                       19 Q. Okay. And you did that without writing an
                       20 estimate?
                       21 A. Yes.



          2. Rockhill Insurance Company mislead St. Louis Condominium Association, Inc. by creating an
             expectation of payment for that loss it (Pesak) had determined was in excess of the deductible
             and then not paying for that loss in accordance with the terms and conditions of the policy.

          3. Insurance Adjusting is regulated by the Florida Department of Financial Services (DFS). As such
             the DFS issues guidelines for adjusters to follow in the performance of their job-related duties.
             These guidelines are found in the Florida Administrative Code (FAC) as cited in part:

                       ‘69B-220.201 Ethical Requirements for All Adjusters and Public Adjuster
                       Apprentices.
                       (1) Definitions.
                                (a) “Adjuster,” when used without further specification, includes all types
                                and classes of insurance adjusters, (company employee, independent, and
                                public), subject to chapter 626, F.S., regardless of whether permanent,
                                temporary, apprentice, or emergency licensees.
                                (b) “Department” means the Florida Department of Financial Services.
                                (c) “Person” includes natural persons and legal entities.
                       (2) Violation.


   6
       Deposition of Stephen Pesak, pg. 92 lines 11 - 21
Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 21 of
                                      61



                      (a) Violation of any provision of this rule shall constitute grounds for
                      administrative action against the licensee.
                      (b) A breach of any provision of this rule constitutes an unfair claims
                      settlement practice.
               (3) Code of Ethics. The work of adjusting insurance claims engages the public
               trust. An adjuster shall put the duty for fair and honest treatment of the claimant
               above the adjuster’s own interests in every instance. The following are standards
               of conduct that define ethical behavior, and shall constitute a code of ethics that
               shall be binding on all adjusters:
                      (a) An adjuster shall not directly or indirectly refer or steer any claimant
                      needing repairs or other services in connection with a loss to any person
                      with whom the adjuster has an undisclosed financial interest, or who will
                      or is reasonably anticipated to provide the adjuster any direct or indirect
                      compensation for the referral or for any resulting business.
                      (b) An adjuster shall treat all claimants equally.
                          1. An adjuster shall not provide favored treatment to any claimant.
                          2. An adjuster shall adjust all claims strictly in accordance with the
                          insurance contract.
                      (c) An adjuster shall not approach investigations, adjustments, and
                      settlements in a manner prejudicial to the insured.
                      (d) An adjuster shall make truthful and unbiased reports of the facts after
                      making a complete investigation.
                      (e) An adjuster shall handle every adjustment and settlement with honesty
                      and integrity, and allow a fair adjustment or settlement to all parties
                      without any compensation or remuneration to himself or herself except
                      that to which he or she is legally entitled.
                      (f) An adjuster, upon undertaking the handling of a claim, shall act with
                      dispatch and due diligence in achieving a proper disposition of the claim.
                      (g) An adjuster shall not negotiate or effect settlement directly or
                      indirectly with any third-party claimant represented by an attorney, if the
                      adjuster has knowledge of such representation, except with the consent of
                      the attorney. For purposes of this subsection, the term “third-party
                      claimant” does not include the insured or the insured’s resident relatives.
                      (h) An adjuster shall not advise a claimant to refrain from seeking legal
                      advice, nor advise against the retention of counsel or the employment of a
                      public adjuster to protect the claimant’s interest.
                      (i) An adjuster shall not attempt to negotiate with or obtain any statement
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                                      61



                           from a claimant or witness at a time that the claimant or witness is, or
                           would reasonably be expected to be, in shock or serious mental or
                           emotional distress as a result of physical, mental, or emotional trauma
                           associated with a loss. The adjuster shall not conclude a settlement when
                           the settlement would be disadvantageous to, or to the detriment of, a
                           claimant who is in the traumatic or distressed state described above.
                           (j) An adjuster shall not knowingly fail to advise a claimant of the
                           claimant’s claim options in accordance with the terms and conditions of
                           the insurance contract.
                           (k) An adjuster shall not undertake the adjustment of any claim concerning
                           which the adjuster is not currently competent and knowledgeable as to the
                           terms and conditions of the insurance coverage, or which otherwise
                           exceeds the adjuster’s current expertise.
                           (l) No person shall, as a company employee adjuster or independent
                           adjuster, represent him- or herself or any insurer or independent adjusting
                           firm against any person or entity that the adjuster previously represented
                           as a public adjuster.
           These administrative codes shall be referenced in the following conclusions (2 through 7):

       2. (continued) Individuals assigned by Rockhill Insurance Company to investigate, evaluated and
          determine benefits due have violated the public trust in their collective failure to properly
          investigate, evaluate and determine benefits due. 7

       3. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
          benefits due under the policy of insurance have not treated the assured equally in that Rockhill
          Insurance Company representatives have recognized the loss exceeds the deductible and have
          failed to make payment on the claim. 8



       4. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
          benefits due have failed to adjust the claim. 1 year has passed and no payments have been
          issued despite the fact that Rockhill Insurance Company representatives have recognized the
          loss exceeds the deductible. 9

       5. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
          benefits due have approached the adjustment of the claim in a manner prejudicial to the
          insured, in that no adjustment or payments have been made. 10

   7
     FAC paragraph 3
   8
     FAC paragraph 3(b)
   9
     FAC paragraph3(b) 2
   10
      FAC paragraph 3(c)
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        6. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
           benefits due have not adjusted the claim in a timely manner. Over 1 year has elapsed since the
           date of loss and no disposition has been attempted. 11

        7. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
           benefits due have failed to advise the insured of their claim options under the policy. 12

        8. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
           benefits due routinely failed to acknowledge written communications despite statutory
           requirements to do so.13

        9. By failing to pay monies due under the insurance contract, Rockhill Insurance Company has
           constructively denied the claim without conducting a reasonable investigation, despite statutory
           requirements that it do so. 14

        10. Rockhill Insurance Company has failed to advise the insured of additional information it requires
            in order to complete its investigation and the reasons for such information. 15

        11. Rockhill Insurance Company has failed to pay undisputed amounts of the loss despite statutory
            requirements that it do so. 16

        12. The adjustment of this loss does not meet industry standards for the adjustment of property
            losses.



   Signed: ______________________________________________
           William S Coffman, Jr.
           10/1/2018




   11
      FAC paragraph 3(f)
   12
      FAC paragraph 3(j)
   13
      Florida Statutes 626.9541 (i) 3.c
   14
      Florida Statutes 626.9541 (i) 3.d
   15
      Florida Statutes 626.9541 (i) 3.g,h
   16
      Florida Statutes 626.9541 (i) 4
 Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 24 of
                                    Invoice
                                         61
                                           William S Coffman, Jr.
                                              1025 94th Street
                                                    Apt 2
                                        Bay Harbor Islands, FL 33154
                                               252-320-2164
                     St Louis Condominium Association, Inc vs Rockhill Insurance Company
Retainer                                            Retainer Amount
                 Initial Retainer
                 Additional Retainer
                 Total Retainer Received                        $0.00

Hourly Charge    Non-Trial                                    $175.00
                 Trial and Trial Prep                         $250.00

Date             Description of Work        Time Charges                Balance Against Retainer
       9/29/2018 Review emails and depositio    3             $525.00                      -$525.00
       9/30/2018 Review emails and depositio    4             $700.00                    -$1,225.00
       10/1/2018 Prepare Report                 2             $350.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                                                                $0.00                    -$1,575.00
                 Retainer Balance                                                        -$1,575.00
                 Retainer Balance Check         9           $1,575.00                    -$1,575.00




                 Amount Due                             $1,575.00




                                                                                           Tax ID - XXX-XX-XXXX
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                                                  61
                              William S. Coffman: Claims Appraised


Year          Title                                                 Acted In Capacity   Status
       2003   Shulman v Liberty Mutual                              Insured Appraiser   Went To Umpire
       2003   Shulman v Liberty Mutual                              Insured Appraiser   Went To Umpire
       2005   Cid v American Summit                                 Insured Appraiser   Went To Umpire
       2005   Johnson v Liberty American                            Insured Appraiser   Settled With Appraiser
       2006   Langly v Citizens                                     Insured Appraiser   Settled With Appraiser
       2007   Bulbin v Citizens                                     Insured Appraiser   Settled With Appraiser
       2007   Kupfer v Sentry                                       Insured Appraiser   Settled With Appraiser
       2007   Montgomery v Balboa                                   Umpire              Went To Umpire
       2007   Shulman V Citizens                                    Insured Appraiser   Settled With Appraiser
       2007   Snug Harbor Condo v Citizens                          Insured Appraiser   Settled With Appraiser
       2007   Spitzer v Safeco Insurance                            Insured Appraiser   Went To Umpire
       2007   Tavares v Citizens                                    Insured Appraiser   Settled With Appraiser
       2007   Tavares v Citizens                                    Insured Appraiser   Settled With Appraiser
       2007   New Paseos Condo v State Farm                         Insured Appraiser   Settled With Appraiser
       2008   Levine v Citizens                                     Insured Appraiser   Went To Umpire
       2008   Carmelo v Citizens                                    Umpire              Settled With Appraiser
       2008   Gray v Citizens                                       Umpire              Settled With Appraiser
       2008   Milby v Citizens                                      Umpire              Went To Umpire
       2008   Poli v FIGA                                           Insured Appraiser   Settled With Appraiser
       2008   Valle v Pacific Insurance                             Insured Appraiser   Went To Umpire
       2009   Kramer v Hartford                                     Insured Appraiser   Umpire Award
       2009   Lind v Hartford                                       Insured Appraiser   Umpire Award
       2009   Castillo v Citizens                                   Insured Appraiser   Umpire Award
       2009   Palmetto Center v C.N.A.                              Insured Appraiser   Litigation
       2009   Brown v Citizens                                      Insured Appraiser   Litigation
       2009   Axe v Hartford                                        Insured Appraiser   Umpire Award
       2009   Gelper v Hartford                                     Insured Appraiser   Umpire Award
       2009   Greenwald v Hartford                                  Insured Appraiser   Umpire Award
       2009   Itzkowitz v Hartford                                  Insured Appraiser   Umpire Award
       2009   Logvin v Hartford                                     Insured Appraiser   Umpire Award
       2009   Messinger v Hartford                                  Insured Appraiser   Umpire Award
       2009   Michon v Hartford                                     Insured Appraiser   Umpire Award
       2009   C. Rubin v Hartford                                   Insured Appraiser   Umpire Award
       2009   M. Rubin v Hartford                                   Insured Appraiser   Umpire Award
       2009   Rothstein v State Farm                                Insured Appraiser   Umpire Award
       2009   Salzberg v Hartford                                   Insured Appraiser   Umpire Award
       2009   Schenker v Hartford                                   Insured Appraiser   Umpire Award
       2009   Sulzer v Hartford                                     Insured Appraiser   Umpire Award
       2009   Weinrich v Hartford                                   Insured Appraiser   Umpire Award
       2009   Weiss v Hartford                                      Insured Appraiser   Settled With Appraiser
       2009   Vila v Tower Hill                                     Insured Appraiser   Went To Umpire
       2009   Ready v Tower Hill                                    Insured Appraiser   In Process
       2009   Crystal Greens Condo v Travelers                      Company Appraiser   Went To Umpire
       2009   Holy Theotokos Monestary v Church Mutual              Company Appraiser   Went To Umpire
       2009   Bether AME Church - Deerfield Beach v Church Mutual   Company Appraiser   Settled With Appraiser
       2009   Betherl AME Church - Indian River v Church Mutual     Company Appraiser   Settled With Appraiser
       2009   Chomat v Liberty Mutual                               Insured Appraiser   Settled With Appraiser
       2009   Goihman v FIGA                                        Insured Appraiser   Litigation
       2009   House of God v Church Mutual                          Company Appraiser   Settled With Appraiser
       2009   House of God - Miami v Church Mutual                  Company Appraiser   Settled With Appraiser
       2009   Mt Sinai Baptist Church v Church Mutual               Company Appraiser   Settled With Appraiser
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                                           61
                       William S. Coffman: Claims Appraised

2009   Miracle By Faith v Church Mutual         Company Appraiser   Settled With Appraiser
2009   Mount Zion Arcadia v Church Mutual       Company Appraiser   Settled With Appraiser
2010   St. Nicholas Monestary v Church Mutual   Company Appraiser   Settled With Appraiser
2010   St Paul AME v Church Mutual              Company Appraiser   Settled With Appraiser
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                                                 61
                             William S. Coffman: Claims Appraised


Award Amount
   $168,000.00
   $200,000.00
    $72,125.00
   $291,889.10
    $50,836.84
    $33,470.66
    $76,640.70
    $27,000.00
    $65,000.00
   $839,424.70
    $94,466.81
    $61,527.79
    $26,326.00
 $1,279,000.00
    $63,000.00



   $37,500.00
  $438,482.18
   $46,233.11
   $35,264.63
   $63,286.94

  $402,835.81
   $38,160.36
   $29,687.93
   $28,884.92
   $36,332.00
   $26,685.77
   $20,189.95
   $30,653.23
   $16,689.16
   $14,927.00
   $40,450.00
   $49,854.20
   $32,012.04
   $33,546.88
   $30,202.44
   $48,752.29
    $5,683.25
  $233,240.66
  $198,811.00
  $246,573.00




   $79,959.39

   $96,707.51
    Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 28 of
                                             61
                         William S. Coffman: Claims Appraised



$43,000.00
$84,163.91
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                                      61


Year    Title                             Approximate Value
 1996   Cardinal Realty                           $8,000,000
 1996   St. Regis                                 $7,900,000
 1996   Wrightsville Dunes COA                    $1,900,000
 1996   Shell Island                              $1,500,000
 1996   Ocean Dunes                               $2,450,000
 2001   Prime Real Estate                           $275,000
 2001   Ms. Hannah S                                $254,000
 2003   Ms. Gilliam D                               $275,000
 2003   Atrium COA                                  $318,000
 2004   Meridian COA                                $845,000
 2005   Johnson v Liberty American              $291,889.10
 2005   3360 Condominium                          $3,500,000
 2007   New Paseos Condo v State Farm         $1,279,000.00
 2007   Snug Harbor Condo v Citizens            $839,424.70
 2008   Valle v Pacific Insurance               $438,482.18
 2009   Brown v Citizens                        $402,835.81
 2009   Ready v Tower Hill                      $233,240.66
 2009   Crystal Greens Condo v Travelers        $198,811.00
 2009   Holy Theotokos Monestary v Church       $246,573.00
                    Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 30 of
                                                    Expert Work
                                                           61

                                                                               Capacity
Year Attorney                   Case                                           Depo/Trial      Notes
     Arrian Niemen-Arkin,                                                                      Called in capacity as appraiser for Brown.
     Mintz Truppman       Miami                                                                Testified as to damages and how they were
2009 FL                         Brown v Citizens Property Insurance Company    Deposition      determined

     Kenneth Duboff,         Law
     Offices of Kenneth Duboff                                                                 Performed IR inspection for Salzman in 2008.
2011 Miami, FL                   Salzman v Sunshine State Insurance Company    Deposition      Called to provide testimony regarding IR findings
     Matthew Sekits, esq
     Bullivant Houser Bailey                                                                   Testified in capacity of claims expert on claims
2012 Seattle, Wa                 REM Market v Argonaut Great Central           Deposition      handling and industry standards

     Mark Mintz,         Mintz    Atlantic Hospitality of Florida, LLC v
2012 Truppman       Miami FL      General Starr Insurance Company              Deposition      Reviewed files, provided verbal opinion. Deposed

     Leo Manzanilla, Manzanilla   American Verterinary v American Casualty
2012 Schwartz Miami FL            Company Of Reading, PA                       Claims Expert   Provided policy analysis and damage analysis.
     Matthew Sekits, esq
     Bullivant Houser Bailey      Occupational Medical Clainic of Tacoma v
2012 Seattle, Wa                  Hartford Insurance Group                     Claims Expert   Reviewed files, provided verbal opinion. Resolved

     Mark Mintz,         Mintz Jarrette Bay Investments Corp. v Citizens                       Reviewed files, provided verbal opinion. Deposed.
2013 Truppman       Miami FL   Property Insurance Corporation                  Deposition      Resolved

     Mark Mintz,         Mintz Palmetto Bay Investments v. Citizens Property
2014 Truppman       Miami FL   Insurance Corporation                           Deposition      Reviewed files. Deposed. Resolved

     Mark Mintz,         Mintz
2014 Truppman      Miami FL       Antares v Lloyds                             Deposition      Reviewed files. Deposed. Resolved
2014 Germain Law Group            Bay Towers Condominium Association           Claims Expert   Inspected Loss
     Adrian Nieman-Arkin          Sosa Saurez v. Liberty Mutual Insurance
2015 Mintz Truppman               Company                                      Claims Expert   Reviewed Files. Provided written report.

     Mark Mintz,         Mintz Brickellhouse Condominium Association v                         Reviewed Files. Provided written report.
2018 Truppman       Miami FL   Hartford Steam Boiler                           Deposition      Deposition

     Mark Mintz,         Mintz
2018 Truppman       Miami FL   Washington v. Florida Peninsula Insurance       Claims Expert   Reviewed files.
  Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 31 of
                                        61

Lourdes Artigas

From:                                                                                                                                                     Dania Brady
Sent:                                                                                                                                                     Tuesday, October 02, 2018 5:00 PM
To:                                                                                                                                                       'Jocelyn Engracio'
Cc:                                                                                                                                                       'Lauren Levy'; 'Lourdes Artigas'; 'Michael Metta'; Susan Catania Odess; Engie Tapia;
                                                                                                                                                          Docketing Clerk
Subject:                                                                                                                                                  SERVICE OF COURT DOCUMENTS - St. Louis Condominium Association, Inc. v Rockhill
                                                                                                                                                          Insurance Company - Case No. 18-cv-21365-CIV-WILLIAMS/TORRES
Attachments:                                                                                                                                              2180128. Plaintiff's Supplemental Expert Witness Disclosures.pdf

Follow Up Flag:                                                                                                                                           Follow up
Flag Status:                                                                                                                                              Completed




Good afternoon,

Below is a link with the supplemental exhibits mentioned in our Supplemental Expert Witness Disclosures.
Thank you.

https://srhl-law.sharefile.com/d-s8d21c3173604f458

Court in which                                                                                                                                           UNITED STATES DISTRICT COURT SOUTHERN
proceeding is pending:                                                                                                                                   DISTRICT OF FLORIDA- MIAMI DIVISION
Case Number:                                                                                                                                             1:18-cv-21365-KMW
Name of initial party on                                                                                                                                 ST. LOUIS CONDOMINIUM ASSOCIATON, INC. V.
each side:                                                                                                                                               ROCKHILL INSURANCE COMPANY
Document served:                                                                                                                                          Plaintiff’s Supplemental Expert Witness Disclosures
Sender’s Name &                                                                                                                                          Susan C. Odess, Esq.
Telephone Number:                                                                                                                                        305-442-3334


Dania Brady
Legal Assistant to:
Susan C. Odess and Daniel Jovanov
Siegfried, Rivera, Hyman, Lerner,
De La Torre, Mars & Sobel, P.A.
201 Alhambra Circle, Eleventh Floor
Coral Gables, FL 33134
Tel: 305-442-3334 Ext 385 ● Fax: 305-446-8727
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           )30@9/0=>4290/",=6 "49?E>< 4>,9,??:=90DB3:3,>;=,.?4.0/1:=,;;=:C48,?07D

   D0,=>49A,=40/,=0,>:17:=4/,H>.4A477,B>;0.4,74E4924914=>?;,=?D;=:;0=?D49>@=,9.0

   .7,48>,9/74?42,?4:9 3,A0-009=0?,490/-D?30%7,49?411(? !:@4>:9/:8494@8>>:.4,?4:9

   9. F(? !:@4>G?:=09/0=,9:;494:9:9A,=4:@>49>@=,9.049/@>?=D>?,9/,=/>4>>@0>=07,?0/?:

   ?3049>@=,9.0.7,48;=0>@4?,.?4A4?40>,9/74?42,?4:9-0?B009%7,49?411,9/':.634779>@=,9.0

   :8;,9DF':.63477G "D.@==09?3:@=7D=,?0,9/=,?049?34>8,??0=4> ;7@>.:>?> "D

   *4>,A,47,-70:98D;,20,?"49?E?=@;;8,9 .:8,>4>:?30=491:=8,?4:9,-:@?80,9/8D7,B

   14=8 

           )301407/:149>@=,9.0;,=?4.@7,=7D14=>?;,=?D;=:;0=?D49>@=,9.09:9,@?:B34709:?

   >.409?414.4>,>;0.4,74E0/,=0,B4?34?>:B9?0.394.,7?0=8>,9/>?,9/,=/>B34.3,=09:?B4?349

   ?30.:88:969:B70/20:1?302090=,7;@-74. )34>4>;,=?4.@7,=7D?=@0,>4?=07,?0>?:

   .:9/:8494@8.:880=.4,7,9/.:880=.4,7=0>4/09?4,7;=:;0=?D49>@=,9.0 "D:;494:9>30=049

   -,>0/@;:98D0/@.,?4:9?=,49492,9/0C;0=409.0,=0 !  !

     !       

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      !,>B077,>B30?30=(? !:@4>/4/:=/4/9:?/:>:,>,77020/49

   ':.63477H>/0109>0>,9/.:@9?0=.7,48 )34>B47790.0>>,=47D=0<@4=0?305@=D?:3,A0.0=?,49

   49>@=,9.049/@>?=D>;0.414.;:74.D?0=8>>?,9/,=/>,9/;=,.?4.0>0C;7,490/ /0?0=849,?4:9:1

   ;:74.D.:8;74,9.0:=-=0,.3-D04?30=;,=?D90.0>>,=47D=0<@4=0>,9@9/0=>?,9/492:149>@=,9.0

   49/@>?=D>;0.414.> 




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   &@,7414.,?4:9>

          )30@9/0=>4290/3,>0C?09>4A074?42,?4:90C;0=409.049A,=4:@>,=0,>:17:=4/,.4A47

   74?42,?4:93,A492-009,/84??0/?:;=,.?4.07,B497:=4/,49  ,8?30>094:=,9/8,9,2492

   ;,=?90=:1"49?E)=@;;8,9%  :90:1?30:7/0>?.:9?49@49214=>?;,=?D;=:;0=?D49>@=,9.0

   74?42,?4:914=8>49(:@?37:=4/, :=,>429414.,9?;:=?4:9:18D.,=00=B:=60/,>49>@=,9.0

   /0109>0.:@9>07>;0.4,74E4924914=>?;,=?D;=:;0=?D49>@=,9.0.7,48>,9/3,A0,.?0/,>,9

   49>@=,9.0;;=,4>0= (48@7?,90:@>7D,7>:>;0.4,74E0/4914=>?;,=?D49>@=,9.0.7,48>

   =0;=0>09?49249>@=0/>49>@.3.,>0> (49.0    3,A0:97D=0;=0>09?0/49>@=0/>9:?49>@=0=> 

   3,A070.?@=0/,?%.:910=09.0>,9/0A09?>,9/:?30=A09@0> =02@7,=7D.:9>@7?B4?3

   8,9D:1?308:>?,.?4A0,9/>@..0>>1@714=>?;,=?D;=:;0=?D49>@=,9.07,BD0=>,9/,/5@>?0=>49

   (:@?37:=4/, )30@9/0=>4290/,9/8D7,B14=8@9/0=8D2@4/,9.03,A08,9D:1?3070,/492

   49>@=,9.0,;;077,?0.,>0>497:=4/,,9/8D.,>0:1    4>>?477?,@23?,?A:4=

   /4=0>0849,=> 

          ,81=0<@09?7D.:9>@7?0/:=34=0/,>,949>@=,9.074?42,?4:9.:9>@7?,9?:=0C;0=?B4?90>>

   49.:8;70C49>@=,9.0.7,48>:=,>,9,??:=90DH>1000C;0=? :B0A0=:97D=0.,7724A492

   ?0>?48:9D49:90.,>0B4?349?307,>?1:@=D0,=>,>,90C;0=?B34.34>  "

   "4,84,/04=.@4?:@=?,>0#:          

   (@88,=D:1$;494:9>

          ':.63477092,20/49.:9/@.?/0>4290/?:/07,D,9//09D?3049>@=0/H>.7,4849?34>.,>0

   ?:,A:4/;,D492B3,?B,>,9/4>/@0 )34>49.7@/0>':.63477H>8@7?4;70-=0,.30>:1?30;:74.D

   ,9/4?>:-742,?4:9>@9/0=7:=4/,7,B091:=.0/-D?300/0=,7:@=?49?34>.,>0A4:7,?492

   49/@>?=D>?,9/,=/>4949A0>?42,?492?30.7,4834=492,7,BD0=?:>0=A0,>,.:9/@4? ,/5@>?0=1:=?30

   49>@=,9.0.:8;,9D/@=492?30,/5@>?809?:1?30.7,481,47492?:;,D,9/?,6492@9>@;;:=?0/




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   /0109>0,9/74?42,?4:9;:>4?4:9>B3094?>49>@=0/B,>=0<@4=0/?:1470>@4? 

          "D?0>?48:9DB4770C;7,49?309>@=,9.0:8;,9DH>A4:7,?4:9:149>@=,9.049/@>?=D

   >?,9/,=/>49.7@/492':.63477H>1,47@=0?:;=:;0=7D49A0>?42,?0,9/,/5@>?(? !:@4>H49>@=,9.0

   .7,48A4:7,?4924?>:-742,?4:9>@9/0=?3049>@=,9.0.:9?=,.?,9/49>@=,9.049/@>?=D>?,9/,=/>,>

   B077,>(? !:@4>H,77020/1,47@=0?:800?4?>:B9/@?40>@9/0=?30;:74.D )34>491:=8,?4:94>

   .70,=7D9:?B4?349?30-,>4.69:B70/20:=@9/0=>?,9/492:1?30,A0=,207,D5@=:= "D:;494:9>

   B477,/A4>0:1?30,;;74.,?4:9:1?30;:74.D0C.7@>4:9>,9//@?40>=,4>0/-D':.63477494?>

   /0109>0>,9/.:@9?0=.7,4849?34>.,>0,9/0C;7,493:B?30DB:=649=0,77410>:,7,D5@=:=.,9

   @9/0=>?,9/ 

          )300C;0.?0/:;494:9>-,>0/:914=>?;,=?D;=:;0=?D49>@=,9.049/@>?=D>?,9/,=/>,9/8D

   0C;0=409.049?3049/@>?=D,=0/0?,470/-07:B 

   ",?0=4,7>'0A40B0/

         )30@9/0=>4290/3,>1:==0A40B=070A,9?;:=?4:9>:1?3074?42,?4:9147049?34>.,>0

   49.7@/492;70,/492>/4>.:A0=D,9/?3049>@=,9.0;:74.D,?4>>@0 9,//4?4:93,A0-009

   ;=:A4/0/;=0>@4?.:88@94.,?4:9>70??0=>,9/08,47>:9;:74.D.:8;74,9.04>>@0>/:.@809?

   ;=:/@.?4:9-D-:?3':.63477=07,?4A07D9:90C4>?09?,9/(? !:@4>,9/3,A0/4>.@>>0/,9/

   =0A40B0/A,=4:@>1,.?>:1?34>.7,48,9/.,>0B4?3%7,49?411H>.:@9>07-0.,@>0?3048;:=?,9?

   /0;:>4?4:9>:1':.63477H>-.:=;:=,?0=0;=0>09?,?4A0,9/':.63477H>@9/0=B=4?492

   =0;=0>09?,?4A03,A09:?D0??,609;7,.0 //4?4:9,77D3,A0"= 0=?,A4>H/0;:>4?4:9B34.3

   3,>9:?-009.:9.7@/0/,9/?30/0;:>4?4:9>:1(?0;309%0>,6,9/%3474;8-=:>0 )34>

   491:=8,?4:93,>-009=0A40B0/491:=8@7,?4928D:;494:9>,>=070A,9?,9/,//4?4:9,7

   491:=8,?4:94>0C;0.?0/ 




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   0?,47:1$;494:9>

         ,>0/:98D=0A40B:1?308,?0=4,7>4/09?4140/,-:A0,9//4>.@>>4:9>B4?3%7,49?411H>

   .:@9>07,8:1?30:;494:9?3,?


       • ':.6347749>@=0/?30B49/:B,9//::=>D>?08>,??30%=:;0=?D,>;,=?:1?3049>@=0/

          -@47/492 

       • ':.6347749>@=0/?30-@47/49209A07:;0,??30%=:;0=?D,>;,=?:1?3049>@=0/-@47/492 

       • )304>>@,9.0:1?30;:74.D:149>@=,9.0B4?39:0C.7@>4:9:=:?30=49/4.,?4:9

          09/:=>0809?>?3,??30B49/:B>,9//::=>D>?08>,9/-@47/49209A07:;0B:@7/9:?-0

          .:A0=0/;=0A09?>':.634771=:8/09D492:==,4>492.:A0=,20/0109>0>49.7@/492,>4?

          =07,?0>?:;=00C4>?492.:9/4?4:9>1:=?3:>04?08> )3049>@=,9.0.:8;,9D,..0;?0/?30

          ;=:;0=?D494?>.:9/4?4:9,>,9/B30949>@=0/,1?0=04?30=49>;0.?492:=.3::>4929:??:

          49>;0.? ,47@=0?:;=:A4/0>@.3.:A0=,20B:@7/1@=?30=-01=,@/49?3049/@.0809?,9/4>

          ;=:34-4?0/-D49/@>?=D>?,9/,=/> 

       • ?,;;0,=>?3,??309>@=,9.0:8;,9D.:770.?0/;=084@8>B4?3:@?0A0=49?09/492?:

          ;=:A4/0.:A0=,20,>>3:B9-D ':.63477H>,/5@>?0==0;=0>09?492?3,??30.7,480C.00/0/

          ?30%:74.DH>/0/@.?4-7049(0;?08-0=:1        D0?':.634771,470/?: B=4?0,90>?48,?0

          >09/,9,/A,9.0:=;,D1:=?30,/84??0/7D.:A0=0//,8,20>09/;,D809?1:=?30

          .7,48:=>09/;,D809?1:=?30,8:@9??3,?B,>,2=00/?:-0,-:A0?30/0/@.?4-70 

       • (? !:@4>.:8;740/B4?3,77.:9/4?4:9>;=0.0/09?-01:=0147492?307,B>@4?:=':.63477

          B,4A0/,9D>@.3;:74.D.:8;74,9.0,9/(? !:@4>H7,B>@4?B,>9:?1470/;=08,?@=07D 

          )309>@=,9.0:8;,9D/07,D0/,9D0A,7@,?4:9,9/?309:9;=:8;?492-D?3049>@=0/

          3,/8@7?4;7049>;0.?4:9>B30=04?.:@7/3,A0,9//4/?:>:80/02=000A,7@,?0/?30

          .7,481@77D 

       • (? !:@4>,77:B0/1:@=49>;0.?4:9>:14?>%=:;0=?D-D':.63477H>,/5@>?0=>,7?3:@23?30D

          ,;;,=09?7D/4/9H?,7B,D>>3:B@;,9/=0?,490/0C;0=?>B34.31@714770/(? !:@4>H/@?D



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         ,9/:-742,?4:9@9/0=?30%:74.D?:8,60?30;=:;0=?D,A,47,-701:=49>;0.?4:9 1':.63477

         .3:>09:??:.:8;70?04?>49>;0.?4:94?/4/>:,?4?>;0=47,9/A4:7,?0/49/@>?=D>?,9/,=/> 

      • )301:@=49>;0.?4:9>?3,?B0=0.:9/@.?0/-D':.63477,9/':.63477H>0C;0=?>,77:B0/

         ':.63477?:.:8;70?04?>49A0>?42,?4:9:1?30%=:;0=?D,9/?30/,8,20B4?34949/@>?=D

         >?,9/,=/>,9/,;;,=09?7D4?/4/>:-@?>@=07D>3:@7/3,A0/:90>: )30=0<@0>?1:=,9

         ,//4?4:9,749>;0.?4:94>04?30=,1,-=4.,?0/F900/G49?09?4:9,77D.=0,?492/07,D:=-,>0/

         :9,9,/84>>4:9:1':.63477H>;=4:=-=0,.3499:?.:9.7@/4924?>49A0>?42,?4:9:9?3014=>?

         1:@=49>;0.?4:9> 

      • ':.63477H>,??:=90D>0=A0/,>,.:9/@4? ,/5@>?0=1:=?309>@=,9.0:8;,9D-D

         ;,=?4.4;,?49249?30,/5@>?809?;=:.0>>9:?,>,9,??:=90D ':.63477H>7,BD0=4>9:?

         09?4?70/?:.7,48,??:=90D.7409?;=4A47020:=B,4A0/,??:=90D.7409?;=4A47020,??30;:49?

         4?092,20/49?30,/5@>?809?:1?30.7,48H>;=:.0>> ':.63477H>,??:=90D,/A4>0/(? !:@4>H

         ;@-74.,/5@>?0=?:/4=0.?,77.:==0>;:9/09.0?:30=:114.0/@=492?30,/5@>?809?:1?30

         .7,48 

      • ':.63477H>.:@9?0=.7,484>B4?3:@?80=4? )30=04>9:.:9.0,7809?:=1=,@/-D(? !:@4>

         ,9/>@.3B:@7/:97D-0,/0109>09:?,.:@9?0=.7,48 )30>,80,;;740>?:?30,77020/

         7,.6:1;:74.D.:8;74,9.0,9/?30.:@9?0=.7,48,>,B3:70 (? !:@4>.3:>09:??:,>61:=

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                                           St. Louis - Plaintiff's Expert - Mark Mintz, Esq.'s File - 000008
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                                          Expert Report of William S. Coffman, Jr.



              ST. LOUIS CONDOMINIUM ASSOCIATION, INC., a Florida not-for profit Corporation

                                                                     vs.

                                               ROCKHILL INSURANCE COMPANY

   Qualifications and Experience

   I have worked in the insurance industry for over 34 years as an adjuster and loss consultant.
   Throughout this period, I have held key positions with Hartford Insurance and am currently an
   independent adjuster providing claims services to the insurance industry. I have broad experience in
   claim handling and claim management and hold special expertise in the adjustment of large property
   claims. Based on my experience of adjusting and advising on claims throughout the United States, I
   have specialized knowledge regarding the industry standards applicable to insurers and insurance
   adjusters.



   Background

   The St. Louis Condominium Association, Inc. consists of a thirty-one (31) story building containing 134
   units, flat roof systems, multi-story parking garage/parking deck, and an in-ground pool and pool deck
   that was constructed in 1995. 1 The condominium sustained damage from Hurricane Irma, which made
   landfall in the Florida Keys as a Category 4 storm on September 10, 2017. The eye of the storm tracked
   along the west coast of Florida reaching Naples as a category 2 storm. Winds from Hurricane Irma
   affected the east coast as well with a wind gust of 109 mph being recorded in Pembroke Pines, FL.2

   St. Louis Condominium Association, Inc. retained the services of GlobalPro Recovery, Inc. to advise and
   assist with the presentation of their loss. GlobalPro Recovery, Inc. reported the loss to Rockhill Insurance
   Company on or about September 13, 2017. Rockhill Insurance Company set up a claim and assigned
   Engle Martin Associates to investigate. Engle Martin Associates assigned the claim to Stephen Pesak,
   Executive General Adjuster. An initial inspection by Mr. Pesak was conducted on or about September
   20, 2017

   From September 20, 2017 until January 16, 2018 neither Rockhill Insurance Company nor agents acting
   on its behalf made any requests for information or inspections.

   Rockhill Insurance Company engaged the services of an engineer, Mr. Bert Davis and a building
   consultant, Mr. Paul Millard. An inspection (which was the second one performed on behalf of Rockhill

   1
     Post Hurricane Irma Engineering Evaluation of the St. Louis Condominium Association, Miami Florida, prepared by: The Falcon Group
   Engineering, Architecture & Energy Consultants 7430 SW 48th Street Miami, FL 33155
   2
       ibid




                                                                            St. Louis - Plaintiff's Expert - Mark Mintz, Esq.'s File - 000009
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                                          Expert Report of William S. Coffman, Jr.



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                                                                         St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000001
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   Insurance Company) by Mr. Davis and Mr. Millard took place on or about January 31, 2018. At this
   inspection no adjuster from the insurance company attended despite requesting this reinspection. A
   third inspection occurred on February 28, 2018 and a fourth inspection occurred on March 1, 2018.
   These last two inspections were performed by Mr. Davis and Mr. Millard. Present during the February
   28, 2018 inspection was Mr. Ambrose. 3 Also present during these inspections was the insurer’s attorney
   Ms. Levy. 4

   At some point prior to the January 31, 2018 inspection Engle Martin reassigned the investigation of the
   claim to Philip Ambrose, Sr. Executive General Adjuster.

   A Sworn Statement in Proof of Loss was submitted to Rockhill Insurance Company via letter dated
   February 13, 2018, in the amount of $16,113,648.88.

   Suit was filed on or about March 5, 2018.

   As of this report no denial letters have been issued, no loss less than the deductible letters have been
   issued and no payments (partial or full) have been made.

   As of September 12, 2018, no estimates have been prepared by or on behalf of Rockhill Insurance
   Company. 5


   Opinions and Conclusions
   The conclusions enumerated below are general in nature and I intend to expound upon these upon
   questioning at my deposition. I also reserve the right to add to these opinions and form new opinions
   with additional or new information, such as transcripts of completed depositions of Rockhill Insurance
   Company’s adjuster, corporate representative, underwriting representative, plaintiffs Public Adjuster
   and Rockhill Insurance Company’s “expert” who inspected the property.

   Nowhere in the insurance policy issued by Rockhill Insurance Company does it instruct the insured on
   how to make an insurance claim. Rather they are instructed only on what they must do in the event of
   loss or damage:

             6. DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE
             You must see that the following are done in the event of loss or damage to covered
             property: 6


   Part of these duties are prompt notice to the insurance company. In response to this notice Rockhill
   Insurance Company establishes a claim and assigns representatives to investigate those damages giving
   rise to loss, evaluate whether those damages are covered under the policy and if covered determine the

   3
     Deposition of Philip Ambrose, pg. 43 lines 20-22
   4
     GlobalPro correspondence dated March 27, 2018
   5
     Deposition of Philip Ambrose, pg. 96 lines 10-12
   6
       Coverage Form CAT7011 (01/16)




                                                          St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000002
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   extent of the policy’s monetary response. If the investigation determined that no payment is warranted,
   or the payment falls below the deductible a corresponding position paper is issued citing the position
   and the basis upon which the position was determined.

          1. Rockhill Insurance Company, in issuance of the policy and acceptance of First Notice of Loss
             created an expectation that they would adjust the reported loss. Rockhill Insurance Company
             has failed to adjust the loss despite being aware, as early as September 20, 2017 that the loss
             exceeded the deductible. 7

                       11 Q. Following your initial inspection, did you
                       12 make a determination whether or not the claim fell
                       13 above or below the deductible in this case?
                       14 A. Yes.
                       15 Q. Did you determine that the claim fell
                       16 above the deductible?
                       17 MS. LEVY: That, you can answer.
                       18 A. Yes.
                       19 Q. Okay. And you did that without writing an
                       20 estimate?
                       21 A. Yes.



          2. Rockhill Insurance Company mislead St. Louis Condominium Association, Inc. by creating an
             expectation of payment for that loss it (Pesak) had determined was in excess of the deductible
             and then not paying for that loss in accordance with the terms and conditions of the policy.

          3. Insurance Adjusting is regulated by the Florida Department of Financial Services (DFS). As such
             the DFS issues guidelines for adjusters to follow in the performance of their job-related duties.
             These guidelines are found in the Florida Administrative Code (FAC) as cited in part:

                       ‘69B-220.201 Ethical Requirements for All Adjusters and Public Adjuster
                       Apprentices.
                       (1) Definitions.
                                (a) “Adjuster,” when used without further specification, includes all types
                                and classes of insurance adjusters, (company employee, independent, and
                                public), subject to chapter 626, F.S., regardless of whether permanent,
                                temporary, apprentice, or emergency licensees.
                                (b) “Department” means the Florida Department of Financial Services.
                                (c) “Person” includes natural persons and legal entities.


   7
       Deposition of Stephen Pesak, pg. 92 lines 11 - 21




                                                            St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000003
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               (2) Violation.
                      (a) Violation of any provision of this rule shall constitute grounds for
                      administrative action against the licensee.
                      (b) A breach of any provision of this rule constitutes an unfair claims
                      settlement practice.
               (3) Code of Ethics. The work of adjusting insurance claims engages the public
               trust. An adjuster shall put the duty for fair and honest treatment of the claimant
               above the adjuster’s own interests in every instance. The following are standards
               of conduct that define ethical behavior, and shall constitute a code of ethics that
               shall be binding on all adjusters:
                      (a) An adjuster shall not directly or indirectly refer or steer any claimant
                      needing repairs or other services in connection with a loss to any person
                      with whom the adjuster has an undisclosed financial interest, or who will
                      or is reasonably anticipated to provide the adjuster any direct or indirect
                      compensation for the referral or for any resulting business.
                      (b) An adjuster shall treat all claimants equally.
                          1. An adjuster shall not provide favored treatment to any claimant.
                          2. An adjuster shall adjust all claims strictly in accordance with the
                          insurance contract.
                      (c) An adjuster shall not approach investigations, adjustments, and
                      settlements in a manner prejudicial to the insured.
                      (d) An adjuster shall make truthful and unbiased reports of the facts after
                      making a complete investigation.
                      (e) An adjuster shall handle every adjustment and settlement with honesty
                      and integrity, and allow a fair adjustment or settlement to all parties
                      without any compensation or remuneration to himself or herself except
                      that to which he or she is legally entitled.
                      (f) An adjuster, upon undertaking the handling of a claim, shall act with
                      dispatch and due diligence in achieving a proper disposition of the claim.
                      (g) An adjuster shall not negotiate or effect settlement directly or
                      indirectly with any third-party claimant represented by an attorney, if the
                      adjuster has knowledge of such representation, except with the consent of
                      the attorney. For purposes of this subsection, the term “third-party
                      claimant” does not include the insured or the insured’s resident relatives.
                      (h) An adjuster shall not advise a claimant to refrain from seeking legal
                      advice, nor advise against the retention of counsel or the employment of a
                      public adjuster to protect the claimant’s interest.




                                                  St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000004
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                            (i) An adjuster shall not attempt to negotiate with or obtain any statement
                            from a claimant or witness at a time that the claimant or witness is, or
                            would reasonably be expected to be, in shock or serious mental or
                            emotional distress as a result of physical, mental, or emotional trauma
                            associated with a loss. The adjuster shall not conclude a settlement when
                            the settlement would be disadvantageous to, or to the detriment of, a
                            claimant who is in the traumatic or distressed state described above.
                            (j) An adjuster shall not knowingly fail to advise a claimant of the
                            claimant’s claim options in accordance with the terms and conditions of
                            the insurance contract.
                            (k) An adjuster shall not undertake the adjustment of any claim concerning
                            which the adjuster is not currently competent and knowledgeable as to the
                            terms and conditions of the insurance coverage, or which otherwise
                            exceeds the adjuster’s current expertise.
                            (l) No person shall, as a company employee adjuster or independent
                            adjuster, represent him- or herself or any insurer or independent adjusting
                            firm against any person or entity that the adjuster previously represented
                            as a public adjuster.
           These administrative codes shall be referenced in the following conclusions (3 through 7):

       3. (continued) Individuals assigned by Rockhill Insurance Company to investigate, evaluate and
          determine benefits due have violated the public trust in their collective failure to properly
          investigate, evaluate and determine benefits due. 8

       4. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
          benefits due under the policy of insurance have not treated the assured equally in that Rockhill
          Insurance Company representatives have recognized the loss exceeds the deductible and have
          failed to make payment on the claim. 9



       5. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
          benefits due have failed to adjust the claim. 1 year has passed and no payments have been
          issued despite the fact that Rockhill Insurance Company representatives have recognized the
          loss exceeds the deductible. 10




   8
     FAC paragraph 3
   9
     FAC paragraph 3(b)
   10
      FAC paragraph3(b) 2




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        6. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due have approached the adjustment of the claim in a manner prejudicial to the
           insured, in that no adjustment or payments have been made. 11



        7. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due have not adjusted the claim in a timely manner. Over 1 year has elapsed since the
           date of loss and no disposition has been attempted. 12

        8. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due have failed to advise the insured of their claim options under the policy. 13

        9. Individuals assigned by Rockhill Insurance Company to investigate, evaluate and determine
           benefits due routinely failed to acknowledge written communications despite statutory
           requirements to do so.14

        10. By failing to pay monies due under the insurance contract, Rockhill Insurance Company has
            constructively denied the claim without conducting a reasonable investigation, despite statutory
            requirements that it do so. 15

        11. Rockhill Insurance Company has failed to advise the insured of additional information it requires
            in order to complete its investigation and the reasons for such information. 16

        12. Rockhill Insurance Company has failed to pay undisputed amounts of the loss despite statutory
            requirements that it do so. 17

        13. The adjustment of this loss does not meet industry standards for the adjustment of property
            losses.



   Signed: ______________________________________________
           William S Coffman, Jr.
           10/1/2018




   11
      FAC paragraph 3(c)
   12
      FAC paragraph 3(f)
   13
      FAC paragraph 3(j)
   14
      Florida Statutes 626.9541 (i) 3.c
   15
      Florida Statutes 626.9541 (i) 3.d
   16
      Florida Statutes 626.9541 (i) 3.g,h
   17
      Florida Statutes 626.9541 (i) 4




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                                          Expert Report of William S. Coffman, Jr.



              ST. LOUIS CONDOMINIUM ASSOCIATION, INC., a Florida not-for profit Corporation

                                                                     vs.

                                               ROCKHILL INSURANCE COMPANY

   Qualifications and Experience

   I have worked in the insurance industry for over 34 years as an adjuster and loss consultant.
   Throughout this period, I have held key positions with Hartford Insurance and am currently an
   independent adjuster providing claims services to the insurance industry. I have broad experience in
   claim handling and claim management and hold special expertise in the adjustment of large property
   claims. Based on my experience of adjusting and advising on claims throughout the United States, I
   have specialized knowledge regarding the industry standards applicable to insurers and insurance
   adjusters.



   Background

   The St. Louis Condominium Association consists of a thirty-one (31) story building containing 134 units,
   flat roof systems, multi-story parking garage/parking deck, and an in-ground pool and pool deck that
   was constructed in 1995. 1 The condominium sustained damage from Hurricane Irma, which made
   landfall in the Florida Keys as a Category 4 storm on September 10, 2017. The eye of the storm tracked
   along the west coast of Florida reaching Naples as a category 2 storm. Winds from Hurricane Irma
   affected the east coast as well with a wind gust of 109 mph being recorded in Pembroake Pines, FL. 2

   St. Louis Condominium Association, Inc. retained the services of Globalpro Recovery, Inc. to advise and
   assist with the presentation of their loss. Globalpro Recovery, Inc. reported the loss to Rockhill Insurance
   Company on or about September 13, 2018. Rockhill Insurance Company set up a claim and assigned
   Engle Martin Associates to investigate. Engle Martin Associates assigned the claim to Stephen Pesak,
   Executive General Adjuster. An initial inspection by Mr. Pesak was conducted on or about September
   20, 2017

   From September 20, 2017 until January 16, 2018 neither Rockhill Insurance Company nor agents acting
   on its behalf made any requests for information or inspections.

   Rockhill Insurance Company engaged the services of an engineer, Mr. Bert Davis and a building
   consultant, Mr. Paul Millard. An inspection (which was the second one performed on behalf of Rockhill

   1
     Post Hurricane Irma Engineering Evaluation of the St. Louis Condominium Association, Miami Florida, prepared by: The Falcon Group
   Engineering, Architecture & Energy Consultants 7430 SW 48th Street Miami, FL 33155
   2
       ibid




                                                                         St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000007
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   Insurance Company) by Mr. Davis and Mr. Millard took place on or about January 31, 2018. At this this
   inspection no adjuster from the insurance company attended despite requesting this reinspection. A
   third inspection occurred on February 28, 2018 and a fourth inspection occurred on March 1, 2018.
   These last two inspections were performed by Mr. Davis and Mr. Millard. Also present during these
   inspections was Mr. Ambrose and the insurer’s attorney Ms. Levy. 3

   At some point prior to the January 31, 2018 inspection Engle Martin reassigned the investigation of the
   claim to Philip Ambrose, Sr. Executive General Adjuster.

   A Sworn Statement in Proof of Loss was submitted to Rockhill Insurance Company via letter dated
   February 13, 2018, in the amount of $16,113,648.88.

   Suit was filed on or about March 5, 2018.

   As of this report no denial letters have been issued, no loss less than the deductible letters have been
   issued and no payments (partial or full) have been made.

   As of September 12, 2018, no estimates have been prepared by or on behalf of Rockhill Insurance
   Company. 4


   Opinions and Conclusions
   The conclusions enumerated below are general in nature and I intend to expound upon these upon
   questioning at my deposition. I also reserve the right to add to these opinions and form new opinions
   with additional or new information, such as transcripts of completed depositions of Rockhill Insurance
   Company’s adjuster, corporate representative, underwriting representative, plaintiffs Public Adjuster
   and Rockhill Insurance Company’s “expert” who inspected the property.

   Nowhere in the insurance policy issued by Rockhill Insurance Company does it instruct the assured on
   how to make an insurance claim. Rather they are instructed only on what they must do in the event of
   loss or damage:

              6. DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE
              You must see that the following are done in the event of loss or damage to covered
              property: 5


   Part of these duties are prompt notice to the insurance company. In response to this notice Rockhill
   Insurance Company establishes a claim and assigns representatives to investigate those damages giving
   rise to loss, evaluate whether those damages are covered under the policy and if covered determine the
   extent of the policy’s monetary response. If the investigation determined that no payment is warranted


   3
       Globalpro correspondence dated March 27, 2018
   4
       Deposition of Philip Ambrose, pg. 96 line s 10-12
   5
       Coverage Form CAT7011 (01/16)




                                                           St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000008
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   or the payment falls below the deductible a corresponding position paper is issued citing the position
   and the basis upon which the position was determined.

          1. Rockhill Insurance Company, in issuance of the policy and acceptance of First Notice of Loss
             created an expectation that they would adjust the reported loss. Rockhill Insurance Company
             has failed to adjust the loss despite being aware, as early as September 20, 2018 that the loss
             exceeded the deductible. 6

                       11 Q. Following your initial inspection, did you
                       12 make a determination whether or not the claim fell
                       13 above or below the deductible in this case?
                       14 A. Yes.
                       15 Q. Did you determine that the claim fell
                       16 above the deductible?
                       17 MS. LEVY: That, you can answer.
                       18 A. Yes.
                       19 Q. Okay. And you did that without writing an
                       20 estimate?
                       21 A. Yes.



          2. Rockhill Insurance Company mislead St. Louis Condominium Association, Inc. by creating an
             expectation of payment for that loss it (Pesak) had determined was in excess of the deductible
             and then not paying for that loss in accordance with the terms and conditions of the policy.

          3. Insurance Adjusting is regulated by the Florida Department of Financial Services (DFS). As such
             the DFS issues guidelines for adjusters to follow in the performance of their job-related duties.
             These guidelines are found in the Florida Administrative Code (FAC) as cited in part:

                       ‘69B-220.201 Ethical Requirements for All Adjusters and Public Adjuster
                       Apprentices.
                       (1) Definitions.
                                (a) “Adjuster,” when used without further specification, includes all types
                                and classes of insurance adjusters, (company employee, independent, and
                                public), subject to chapter 626, F.S., regardless of whether permanent,
                                temporary, apprentice, or emergency licensees.
                                (b) “Department” means the Florida Department of Financial Services.
                                (c) “Person” includes natural persons and legal entities.
                       (2) Violation.


   6
       Deposition of Stephen Pesak, pg. 92 lines 11 - 21




                                                            St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000009
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                      (a) Violation of any provision of this rule shall constitute grounds for
                      administrative action against the licensee.
                      (b) A breach of any provision of this rule constitutes an unfair claims
                      settlement practice.
               (3) Code of Ethics. The work of adjusting insurance claims engages the public
               trust. An adjuster shall put the duty for fair and honest treatment of the claimant
               above the adjuster’s own interests in every instance. The following are standards
               of conduct that define ethical behavior, and shall constitute a code of ethics that
               shall be binding on all adjusters:
                      (a) An adjuster shall not directly or indirectly refer or steer any claimant
                      needing repairs or other services in connection with a loss to any person
                      with whom the adjuster has an undisclosed financial interest, or who will
                      or is reasonably anticipated to provide the adjuster any direct or indirect
                      compensation for the referral or for any resulting business.
                      (b) An adjuster shall treat all claimants equally.
                          1. An adjuster shall not provide favored treatment to any claimant.
                          2. An adjuster shall adjust all claims strictly in accordance with the
                          insurance contract.
                      (c) An adjuster shall not approach investigations, adjustments, and
                      settlements in a manner prejudicial to the insured.
                      (d) An adjuster shall make truthful and unbiased reports of the facts after
                      making a complete investigation.
                      (e) An adjuster shall handle every adjustment and settlement with honesty
                      and integrity, and allow a fair adjustment or settlement to all parties
                      without any compensation or remuneration to himself or herself except
                      that to which he or she is legally entitled.
                      (f) An adjuster, upon undertaking the handling of a claim, shall act with
                      dispatch and due diligence in achieving a proper disposition of the claim.
                      (g) An adjuster shall not negotiate or effect settlement directly or
                      indirectly with any third-party claimant represented by an attorney, if the
                      adjuster has knowledge of such representation, except with the consent of
                      the attorney. For purposes of this subsection, the term “third-party
                      claimant” does not include the insured or the insured’s resident relatives.
                      (h) An adjuster shall not advise a claimant to refrain from seeking legal
                      advice, nor advise against the retention of counsel or the employment of a
                      public adjuster to protect the claimant’s interest.
                      (i) An adjuster shall not attempt to negotiate with or obtain any statement




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                           from a claimant or witness at a time that the claimant or witness is, or
                           would reasonably be expected to be, in shock or serious mental or
                           emotional distress as a result of physical, mental, or emotional trauma
                           associated with a loss. The adjuster shall not conclude a settlement when
                           the settlement would be disadvantageous to, or to the detriment of, a
                           claimant who is in the traumatic or distressed state described above.
                           (j) An adjuster shall not knowingly fail to advise a claimant of the
                           claimant’s claim options in accordance with the terms and conditions of
                           the insurance contract.
                           (k) An adjuster shall not undertake the adjustment of any claim concerning
                           which the adjuster is not currently competent and knowledgeable as to the
                           terms and conditions of the insurance coverage, or which otherwise
                           exceeds the adjuster’s current expertise.
                           (l) No person shall, as a company employee adjuster or independent
                           adjuster, represent him- or herself or any insurer or independent adjusting
                           firm against any person or entity that the adjuster previously represented
                           as a public adjuster.
           These administrative codes shall be referenced in the following conclusions (2 through 7):

       2. (continued) Individuals assigned by Rockhill Insurance Company to investigate, evaluated and
          determine benefits due have violated the public trust in their collective failure to properly
          investigate, evaluate and determine benefits due. 7

       3. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
          benefits due under the policy of insurance have not treated the assured equally in that Rockhill
          Insurance Company representatives have recognized the loss exceeds the deductible and have
          failed to make payment on the claim. 8



       4. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
          benefits due have failed to adjust the claim. 1 year has passed and no payments have been
          issued despite the fact that Rockhill Insurance Company representatives have recognized the
          loss exceeds the deductible. 9

       5. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
          benefits due have approached the adjustment of the claim in a manner prejudicial to the
          insured, in that no adjustment or payments have been made. 10

   7
     FAC paragraph 3
   8
     FAC paragraph 3(b)
   9
     FAC paragraph3(b) 2
   10
      FAC paragraph 3(c)




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        6. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
           benefits due have not adjusted the claim in a timely manner. Over 1 year has elapsed since the
           date of loss and no disposition has been attempted. 11

        7. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
           benefits due have failed to advise the insured of their claim options under the policy. 12

        8. Individuals assigned by Rockhill Insurance Company to investigate, evaluated and determine
           benefits due routinely failed to acknowledge written communications despite statutory
           requirements to do so.13

        9. By failing to pay monies due under the insurance contract, Rockhill Insurance Company has
           constructively denied the claim without conducting a reasonable investigation, despite statutory
           requirements that it do so. 14

        10. Rockhill Insurance Company has failed to advise the insured of additional information it requires
            in order to complete its investigation and the reasons for such information. 15

        11. Rockhill Insurance Company has failed to pay undisputed amounts of the loss despite statutory
            requirements that it do so. 16

        12. The adjustment of this loss does not meet industry standards for the adjustment of property
            losses.



   Signed: ______________________________________________
           William S Coffman, Jr.
           10/1/2018




   11
      FAC paragraph 3(f)
   12
      FAC paragraph 3(j)
   13
      Florida Statutes 626.9541 (i) 3.c
   14
      Florida Statutes 626.9541 (i) 3.d
   15
      Florida Statutes 626.9541 (i) 3.g,h
   16
      Florida Statutes 626.9541 (i) 4




                                                         St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000012
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                                     Invoice
                                       61
                                           William S Coffman, Jr.
                                              1025 94th Street
                                                    Apt 2
                                        Bay Harbor Islands, FL 33154
                                               252-320-2164
                     St Louis Condominium Association, Inc vs Rockhill Insurance Company
Retainer                                            Retainer Amount
                 Initial Retainer
                 Additional Retainer
                 Total Retainer Received                           $0.00

Hourly Charge    Non-Trial                                     $175.00
                 Trial and Trial Prep                          $250.00

Date             Description of Work        Time Charges                    Balance Against Retainer
       9/29/2018 Review emails and depositio    3              $525.00                         -$525.00
       9/30/2018 Review emails and depositio    4              $700.00                       -$1,225.00
       10/1/2018 Prepare Report                 2              $350.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                                                                 $0.00                       -$1,575.00
                 Retainer Balance                                                            -$1,575.00
                 Retainer Balance Check         9            $1,575.00                       -$1,575.00




                 Amount Due                             $1,575.00




                                                                                                      Tax ID - XXX-XX-XXXX
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                                               61
                              William S. Coffman: Claims Appraised


Year          Title                                                   Acted In Capacity           Status
       2003   Shulman v Liberty Mutual                                Insured Appraiser           Went To Umpire
       2003   Shulman v Liberty Mutual                                Insured Appraiser           Went To Umpire
       2005   Cid v American Summit                                   Insured Appraiser           Went To Umpire
       2005   Johnson v Liberty American                              Insured Appraiser           Settled With Appraiser
       2006   Langly v Citizens                                       Insured Appraiser           Settled With Appraiser
       2007   Bulbin v Citizens                                       Insured Appraiser           Settled With Appraiser
       2007   Kupfer v Sentry                                         Insured Appraiser           Settled With Appraiser
       2007   Montgomery v Balboa                                     Umpire                      Went To Umpire
       2007   Shulman V Citizens                                      Insured Appraiser           Settled With Appraiser
       2007   Snug Harbor Condo v Citizens                            Insured Appraiser           Settled With Appraiser
       2007   Spitzer v Safeco Insurance                              Insured Appraiser           Went To Umpire
       2007   Tavares v Citizens                                      Insured Appraiser           Settled With Appraiser
       2007   Tavares v Citizens                                      Insured Appraiser           Settled With Appraiser
       2007   New Paseos Condo v State Farm                           Insured Appraiser           Settled With Appraiser
       2008   Levine v Citizens                                       Insured Appraiser           Went To Umpire
       2008   Carmelo v Citizens                                      Umpire                      Settled With Appraiser
       2008   Gray v Citizens                                         Umpire                      Settled With Appraiser
       2008   Milby v Citizens                                        Umpire                      Went To Umpire
       2008   Poli v FIGA                                             Insured Appraiser           Settled With Appraiser
       2008   Valle v Pacific Insurance                               Insured Appraiser           Went To Umpire
       2009   Kramer v Hartford                                       Insured Appraiser           Umpire Award
       2009   Lind v Hartford                                         Insured Appraiser           Umpire Award
       2009   Castillo v Citizens                                     Insured Appraiser           Umpire Award
       2009   Palmetto Center v C.N.A.                                Insured Appraiser           Litigation
       2009   Brown v Citizens                                        Insured Appraiser           Litigation
       2009   Axe v Hartford                                          Insured Appraiser           Umpire Award
       2009   Gelper v Hartford                                       Insured Appraiser           Umpire Award
       2009   Greenwald v Hartford                                    Insured Appraiser           Umpire Award
       2009   Itzkowitz v Hartford                                    Insured Appraiser           Umpire Award
       2009   Logvin v Hartford                                       Insured Appraiser           Umpire Award
       2009   Messinger v Hartford                                    Insured Appraiser           Umpire Award
       2009   Michon v Hartford                                       Insured Appraiser           Umpire Award
       2009   C. Rubin v Hartford                                     Insured Appraiser           Umpire Award
       2009   M. Rubin v Hartford                                     Insured Appraiser           Umpire Award
       2009   Rothstein v State Farm                                  Insured Appraiser           Umpire Award
       2009   Salzberg v Hartford                                     Insured Appraiser           Umpire Award
       2009   Schenker v Hartford                                     Insured Appraiser           Umpire Award
       2009   Sulzer v Hartford                                       Insured Appraiser           Umpire Award
       2009   Weinrich v Hartford                                     Insured Appraiser           Umpire Award
       2009   Weiss v Hartford                                        Insured Appraiser           Settled With Appraiser
       2009   Vila v Tower Hill                                       Insured Appraiser           Went To Umpire
       2009   Ready v Tower Hill                                      Insured Appraiser           In Process
       2009   Crystal Greens Condo v Travelers                        Company Appraiser           Went To Umpire
       2009   Holy Theotokos Monestary v Church Mutual                Company Appraiser           Went To Umpire
       2009   Bether AME Church - Deerfield Beach v Church Mutual     Company Appraiser           Settled With Appraiser
       2009   Betherl AME Church - Indian River v Church Mutual       Company Appraiser           Settled With Appraiser
       2009   Chomat v Liberty Mutual                                 Insured Appraiser           Settled With Appraiser
       2009   Goihman v FIGA                                          Insured Appraiser           Litigation
       2009   House of God v Church Mutual                            Company Appraiser           Settled With Appraiser
       2009   House of God - Miami v Church Mutual                    Company Appraiser           Settled With Appraiser
       2009   Mt Sinai Baptist Church v Church Mutual                 Company Appraiser           Settled With Appraiser




                                                                St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000014
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                       William S. Coffman: Claims Appraised

2009   Miracle By Faith v Church Mutual               Company Appraiser           Settled With Appraiser
2009   Mount Zion Arcadia v Church Mutual             Company Appraiser           Settled With Appraiser
2010   St. Nicholas Monestary v Church Mutual         Company Appraiser           Settled With Appraiser
2010   St Paul AME v Church Mutual                    Company Appraiser           Settled With Appraiser




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                                             61
                            William S. Coffman: Claims Appraised


Award Amount
   $168,000.00
   $200,000.00
    $72,125.00
   $291,889.10
    $50,836.84
    $33,470.66
    $76,640.70
    $27,000.00
    $65,000.00
   $839,424.70
    $94,466.81
    $61,527.79
    $26,326.00
 $1,279,000.00
    $63,000.00



   $37,500.00
  $438,482.18
   $46,233.11
   $35,264.63
   $63,286.94

  $402,835.81
   $38,160.36
   $29,687.93
   $28,884.92
   $36,332.00
   $26,685.77
   $20,189.95
   $30,653.23
   $16,689.16
   $14,927.00
   $40,450.00
   $49,854.20
   $32,012.04
   $33,546.88
   $30,202.44
   $48,752.29
    $5,683.25
  $233,240.66
  $198,811.00
  $246,573.00




   $79,959.39

   $96,707.51




                                              St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000016
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                                          61
                         William S. Coffman: Claims Appraised



$43,000.00
$84,163.91




                                           St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000017
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 Year    Title                             Approximate Value
  1996   Cardinal Realty                           $8,000,000
  1996   St. Regis                                 $7,900,000
  1996   Wrightsville Dunes COA                    $1,900,000
  1996   Shell Island                              $1,500,000
  1996   Ocean Dunes                               $2,450,000
  2001   Prime Real Estate                           $275,000
  2001   Ms. Hannah S                                $254,000
  2003   Ms. Gilliam D                               $275,000
  2003   Atrium COA                                  $318,000
  2004   Meridian COA                                $845,000
  2005   Johnson v Liberty American              $291,889.10
  2005   3360 Condominium                          $3,500,000
  2007   New Paseos Condo v State Farm         $1,279,000.00
  2007   Snug Harbor Condo v Citizens            $839,424.70
  2008   Valle v Pacific Insurance               $438,482.18
  2009   Brown v Citizens                        $402,835.81
  2009   Ready v Tower Hill                      $233,240.66
  2009   Crystal Greens Condo v Travelers        $198,811.00
  2009   Holy Theotokos Monestary v Church       $246,573.00




                                                       St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000018
                                                                   Expert Work

                                                                               Capacity
Year Attorney                   Case                                           Depo/Trial        Notes
     Arrian Niemen-Arkin,                                                                        Called in capacity as appraiser for Brown.
     Mintz Truppman       Miami                                                                  Testified as to damages and how they were
2009 FL                         Brown v Citizens Property Insurance Company    Deposition        determined

     Kenneth Duboff,         Law
     Offices of Kenneth Duboff                                                                   Performed IR inspection for Salzman in 2008.
2011 Miami, FL                   Salzman v Sunshine State Insurance Company    Deposition        Called to provide testimony regarding IR findings
     Matthew Sekits, esq
     Bullivant Houser Bailey                                                                     Testified in capacity of claims expert on claims
2012 Seattle, Wa                 REM Market v Argonaut Great Central           Deposition        handling and industry standards

     Mark Mintz,         Mintz    Atlantic Hospitality of Florida, LLC v
2012 Truppman       Miami FL      General Starr Insurance Company              Deposition        Reviewed files, provided verbal opinion. Deposed

     Leo Manzanilla, Manzanilla   American Verterinary v American Casualty
2012 Schwartz Miami FL            Company Of Reading, PA                       Claims Expert     Provided policy analysis and damage analysis.
     Matthew Sekits, esq
     Bullivant Houser Bailey      Occupational Medical Clainic of Tacoma v
                                                                                                                                                                                                          61




2012 Seattle, Wa                  Hartford Insurance Group                     Claims Expert     Reviewed files, provided verbal opinion. Resolved

     Mark Mintz,         Mintz Jarrette Bay Investments Corp. v Citizens                         Reviewed files, provided verbal opinion. Deposed.
2013 Truppman       Miami FL   Property Insurance Corporation                  Deposition        Resolved

     Mark Mintz,         Mintz Palmetto Bay Investments v. Citizens Property
2014 Truppman       Miami FL   Insurance Corporation                           Deposition        Reviewed files. Deposed. Resolved

     Mark Mintz,         Mintz
2014 Truppman      Miami FL       Antares v Lloyds                             Deposition        Reviewed files. Deposed. Resolved
2014 Germain Law Group            Bay Towers Condominium Association           Claims Expert     Inspected Loss
     Adrian Nieman-Arkin          Sosa Saurez v. Liberty Mutual Insurance
2015 Mintz Truppman               Company                                      Claims Expert     Reviewed Files. Provided written report.

     Mark Mintz,         Mintz Brickellhouse Condominium Association v                           Reviewed Files. Provided written report.
2018 Truppman       Miami FL   Hartford Steam Boiler                           Deposition        Deposition

     Mark Mintz,         Mintz
2018 Truppman       Miami FL   Washington v. Florida Peninsula Insurance       Claims Expert     Reviewed files.
                                                                                                                                                                    Case 1:18-cv-21365-KMW Document 109-5 Entered on FLSD Docket 12/21/2018 Page 60 of




                                                                                            St. Louis - Plaintiff's Expert - William Coffman, Jr.'s File - 000019
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